             Case No. 1:19-cr-00253-RM Document 95-2 filed 11/12/20 USDC Colorado pg 1 of 7



Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF COLORADO

Case number (if known)                                                        Chapter you are filing under:

                                                                               Chapter 7
                                                                               Chapter 11
                                                                               Chapter 12
                                                                               Chapter 13                                      Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                     04/20
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

Part 7:   Sign Below

For you                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                  If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                  United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                  document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                  I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                  and 3571.

                                  Robyn Marie Ford                                                  Ian Thomas Ford
                                  Signature of Debtor 1                                             Signature of Debtor 2

                                  Executed on     September 8, 2020                                 Executed on     September 8, 2020
                                                  MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 1
            Case No. 1:19-cr-00253-RM Document 95-2 filed 11/12/20 USDC Colorado pg 2 of 7

Debtor 1   Robyn Marie Ford
Debtor 2   Ian Thomas Ford                                                                                Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                                                                                   Date         September 8, 2020
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Todd R. Wagner 33998
                                Printed name

                                Wagner Law Office, P.C.
                                Firm name

                                3969 East Arapahoe Road
                                Suite 200
                                Centennial, CO 80122
                                Number, Street, City, State & ZIP Code

                                Contact phone     303-996-0149                               Email address         todd@wagnerlawofficepc.com
                                33998 CO
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 2
              Case No. 1:19-cr-00253-RM Document 95-2 filed 11/12/20 USDC Colorado pg 3 of 7




 Fill in this information to identify your case:

 Debtor 1                 Robyn Marie Ford
                          First Name                        Middle Name                  Last Name

 Debtor 2                 Ian Thomas Ford
 (Spouse if, filing)      First Name                        Middle Name                  Last Name


 United States Bankruptcy Court for the:              DISTRICT OF COLORADO

 Case number
 (if known)
                                                                                                                                   Check if this is an
                                                                                                                                      amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                        4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 12:       Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.


 Robyn Marie Ford                                                         Ian Thomas Ford
 Signature of Debtor 1                                                    Signature of Debtor 2

 Date         September 8, 2020                                           Date     September 8, 2020

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
 No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
 No
 Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
              Case No. 1:19-cr-00253-RM Document 95-2 filed 11/12/20 USDC Colorado pg 4 of 7



 Fill in this information to identify your case:

 Debtor 1                 Robyn Marie Ford
                          First Name                        Middle Name              Last Name

 Debtor 2                 Ian Thomas Ford
 (Spouse if, filing)      First Name                        Middle Name              Last Name


 United States Bankruptcy Court for the:              DISTRICT OF COLORADO

 Case number
 (if known)
                                                                                                                         Check if this is an
                                                                                                                            amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                12/15

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X                                                                                  X
        Robyn Marie Ford                                                                Ian Thomas Ford
        Signature of Debtor 1                                                           Signature of Debtor 2

        Date           September 8, 2020                                            Date     September 8, 2020




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                           page 1

Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
           Case No. 1:19-cr-00253-RM Document 95-2 filed 11/12/20 USDC Colorado pg 5 of 7


 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 DISTRICT OF COLORADO

 Case number (if known):




Official Form 121
Statement About Your Social Security Numbers                                                                                                            12/15

Use this form to tell the court about any Social Security or federal Individual Taxpayer Identification numbers you have used. Do not file this
form as part of the public case file. This form must be submitted separately and must not be included in the court’s public electronic records.
Please consult local court procedures for submission requirements.

To protect your privacy, the court will not make this form available to the public. You should not include a full Social Security Number or
Individual Taxpayer Number on any other document filed with the court. The court will make only the last four digits of your numbers known
to the public. However, the full numbers will be available to your creditors, the U.S. Trustee or bankruptcy administrator, and the trustee
assigned to your case.

Making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in
fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 Part 1:   Tell the Court About Yourself and Your spouse if Your Spouse is Filing With You
                              For Debtor 1:                                        For Debtor 2 (Only if Spouse is Filing:)

 1.    Your name                    Robyn                                                        Ian
                                    First name                                                   First name
                                    Marie                                                        Thomas
                                    Middle name                                                  Middle name
                                    Ford                                                         Ford
                                    Last name                                                    Last name

 Part 2:   Tell the Court About all of Your Social Security or Federal Individual Taxpayer Identification Numbers


 2.    All Social Security
       Numbers you have
       used                         XXX-XX-XXXX                                                  XXX-XX-XXXX

                                     You do not have a Social Security Number                    You do not have a Social Security Number
 3.    All federal Individual
       Taxpayer
       Identification
       Numbers (ITIN) you
       have used                     You do not have an ITIN.                                    You do not have an ITIN.
 Part 3:   Sign Below

                                    Under penalty of perjury, I declare that the information I     Under penalty of perjury, I declare that the information I
                                    have provided in this form is true and correct.                have provided in this form is true and correct.

                                    X                                                              X
                                         Robyn Marie Ford                                               Ian Thomas Ford
                                         Signature of Debtor 1                                          Signature of Debtor 2

                                         Date      September 8, 2020                                    Date   September 8, 2020




Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
            Case No. 1:19-cr-00253-RM Document 95-2 filed 11/12/20 USDC Colorado pg 6 of 7



                                                               United States Bankruptcy Court
                                                                      District of Colorado
             Robyn Marie Ford
 In re       Ian Thomas Ford                                                                                   Case No.
                                                                               Debtor(s)                       Chapter      7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that compensation
       paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
       behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                  $                    1,200.00
              Prior to the filing of this statement I have received                                        $                    1,200.00
              Balance Due                                                                                  $                        0.00

2.     $     335.00       of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                 Debtor            Other (specify):

4.     The source of compensation to be paid to me is:

                 Debtor            Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]


7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in adversary proceedings including any dischargeability actions.
                                                                       CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       September 8, 2020
                                                                              Todd R. Wagner 33998
                                                                              Wagner Law Office, P.C.
                                                                              3969 East Arapahoe Road
                                                                              Suite 200
                                                                              Centennial, CO 80122
                                                                              303-996-0149 Fax: 303-996-0127
                                                                              todd@wagnerlawofficepc.com




Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
              Case No. 1:19-cr-00253-RM Document 95-2 filed 11/12/20 USDC Colorado pg 7 of 7



 Fill in this information to identify your case:                                                  Check one box only as directed in this form and in Form
                                                                                                  122A-1Supp:
 Debtor 1                 Robyn Marie Ford
 Debtor 2
 (Spouse, if filing)
                          Ian Thomas Ford                                                            1. There is no presumption of abuse
                                                                                                     2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:            District of Colorado
                                                                                                          applies will be made under Chapter 7 Means Test
                                                                                                          Calculation (Official Form 122A-2).
 Case number
 (if known)                                                                                          3. The Means Test does not apply now because of
                                                                                                          qualified military service but it could apply later.
                                                                                                      Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                               04/20

 Part 3:           Sign Below
                By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

              X                                                                         X
                       Robyn Marie Ford                                                     Ian Thomas Ford
                       Signature of Debtor 1                                                Signature of Debtor 2
          Date September 8, 2020                                                     Date September 8, 2020
               MM / DD / YYYY                                                             MM / DD / YYYY
                If you checked line 14a, do NOT fill out or file Form 122A-2.
                If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
